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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                  Case No.: 1:23-cv-24826-GAYLES

  STEPHANIE RAMOS,

         Plaintiff,
  v.

  BARCLAYS BANK DELAWARE,
  EQUIFAX INFORMATION
  SERVICES LLC,
  EXPERIAN INFORMATION
  SOLUTIONS, INC., and
  TRANS UNION LLC,

         Defendants.
  _________________________________/

                               JOINT NOTICE OF SETTLEMENT
         Plaintiff, Stephanie Ramos, and Defendant, Experian Information Solutions, Inc.
  (“Experian”), hereby jointly notify the Court that Plaintiff and Experian have reached a settlement
  with regard to this case and are presently drafting and finalizing the settlement agreement, and
  general release or documents. Upon execution of the same, the parties will file the appropriate
  dismissal documents with the Court.

  Respectfully submitted;


   /s/ Jon P. Dubbeld______________              s/ Taylor Rose Cavaliere
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